IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

THoMAs GIRDLEsToNE,
Piainarf,
V.

ACE LIMITED, a/ k/ a ACE GROUP &
ACE WESTCI-IESTER, d/ b / a ILLINOIS UNION
INSURANCE

Civil Action No. 3:09-CV-530
Phillips / Shirley

Defendants.

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REPLY TO PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS
Pending before this Honorable Court is Defendant ACE Lirnited’s (“ACE”) Mot_ion to Disrniss (R. 5) the
above-captioned lawsuit filed by Plaintiff Thornas Girdlestone (“l\/lr. Girdlestone”) pursuant to Rule lZ(b) (6) of
the Federal Rules of Civil Procedure. On February 16, 201(), Mr. Girdlestone filed his response (R.lG) to ACE’s
Motion, and now, consistent with Local Rule 7.1, ACE files this reply.
L INTRODUCTION.
As an initial matter, Plaintiff has indicated that he is withdrawing the claims for relief contained within the
following Counts of his operative Cornplaint:
0 Count l (Violations of the Unfair Trade Practices and Unfair Claims Settlernent Act of 2009)
0 Count 2 (Negligence)
0 Count 6 (Fraudulent l\/lisrepresentation)
As a result, the only causes of action left for this l-Ionorable Court’s consideration in connection with ACE’s
Motion to Disrniss are Count 3 (Violations of the Tennessee Consurner Protection Act), Count 4 (Breach of
Contract) and Count 5 (Outrageous Conduct). For the reasons set forth below and the reasons contained in
ACE’s previously filed Memorandurn of Law in Support of its Motion to Dismiss, no matter what form his claims

may take, Mr. Girdlestone has not set forth any legally cognizable theory of relief.

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g ARGUMENT.
Mr. Girdlestone does not possess any viable claims against ACE, and ACE is not a proper party
defendant Though Mr. Girdlestone may regret settling the E/der litigation, his decision to do so does not create
any viable claim for relief against ACE. This lawsuit should be dismissed

A. The settlement of the Elderlitigation does not give Mr. Gitdlestone any viable claim for
relief, and therefore, this lawsuit should be dismissed.

Though Mr. Girdlestone asserts claims for breach of contract, outrageous conduct, and for violations of
Tennessee Consumer Protection Act, none of those claims are viable because the conduct about which he
complains does not fit the elements of any of those causes of action. 566 ACE’s l\/lemorandum of Law in Support
of its Motion to Dismiss. Moreover, Mr. Girdlestone admits, “Denial of coverage has nothing to do with this
lawsuit.” (R. 16, Pl, Resp. to Def.’s l\/ltn. to Dismiss, p. l). Thus, in the insurance conteXt, he has no claim for bad
faith or extra-contractual remedies.

lnstead, it appears that l\/lr. Girdlestone is attempting to fashion some sort of claim based upon his
“buyer’s remorse” following the settlement of the E/der litigation. Indeed, Mr. Girdlestone states that “[t]he
gravamen of [his] complaint is that [ACE] With the knowledge of [l\/lr. Girdlestone’s] counter-claim and cross-
claims Mi to force a settlement agreement by using deceptive business practices which would forever bar a
counter-claim against Elder and severely injure his claims against Aurora’s directors and officers.” (R. 17, Pl.
Mem. of Law, p. 9) (italics and underscoring added). Mr. Girdlestone fails to recognize, however, that absent his
actual consent - given without duress or coercion - there could be no settlement of the E/dei” litigation

As the United States Court of Appeals for the Sixth Circuit has recognized, “if a party’s manifestation of
assent is induced by an improper threat by the other party that leaves the victim no reasonable alternative, the
contract is voidable by the victim,” 565 jiree¢ a ].C. Bmdford 67 Co., 886 F.Zd 1472, 1482, (6th Cir. 1989), citing
Restatement of Contracts 2d § 173. Accordingly, if l\/[r. Girdlestone felt or feels he was coerced into participating
in the settlement of the E/a’er litigation, he could and should have defended against l\/ls. Elder’s attempts to enforce
the settlement of that litigation, or he could now challenge the validity of that settlement in state court lns tead,

l\/[r. Girdlestone admits that he retained counsel to advise him with respect to his

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counterclaims (R l, Compl, ij 18), and that with his counsel’s advice, he agreed to settle the E/der litigation
(R. l, Compl. 11 32).

Mr. Girdlestone simply does not possess any viable claim against anyone - and certainly not ACE, which
did not insure him ~ now that he has accepted the benefit of the settlement that Illinois Union negotiated with his
consent and for which it paid $85,000 on his behalf. Mr. Girdlestone’s claims should, therefore, be dismissed

B. ACE did not insure Mr. Girdlestone and is not a proper party to this lawsuit

Though Mr. Girdlestone claims that ACE Limited is the parent company of his insurer, lllinois Union
Insurance Company, l\/lr. Girdlestone has not alleged any facts that would justify holding ACE Limited liable for
the alleged bad acts of Illinois Union lnsurance Company. A parent company “is not liable for the acts of
subsidiaries absent a showing of complete identity between the parent and the subsidiary.” U.§. ex. Ve/. H¢za'z'd a
johnson Conz‘ro/r, laa, 2005 WL 1630098 at * 5 (E.D. l\/[i. July 7, 2005) (unpublished decision attached hereto). 506
adm Mc‘Coa/é@/ 1). McG/.m/¢ Medz`czz/ Co¢;bomz‘z’oa, 144 F. Supp.2d 958 (E.D. Tenn. 2000). l\/lr. Girdlestone has named
only one defendant in this litigation - ACE Limited. His attempts to name other defendants by referring to them
as “d/b/a” trade names are not effective Accordingly, because Mr. Girdlestone has not properly named his actual
insurer as a party defendant and because he has not articulated any viable claims against ACE Limited as a parent
company of his insurer, this entire lawsuit should be dismissed

L CONCLUSION.

l\/[r. Gii'dlestone received every benefit to which he was entitled as an lllinois Union insured. He has not
properly articulated any actionable claims for relief against ACE. His lawsuit is meritless, and it should be
dismissed with prejudice

Respectfully submitted, this the 22“d day of Februaiy 2010.

[s[ Robert L. Bowman

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CERTIFICATE OF SERVICE

l hereby certify that on this the 22nd day of February, 2010, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing system to all
parties indicated on the electronic filing receipt All other parties will be served by regular U.S. Mail. Parties
may access this filing through the Court’s electronic filing system.

s g Robert L. Bowman

Robert L. Bowman

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